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    Rule 4.1 Addendum

    0: 18-MJ-54-EBA

    Per Rule 4l(d)(3) and Rule 4.1, the Court processed the Complaint remotely. The Court verified
    the Affiant's identity (by AUSA confirmation, through Affi~nt self-identification, and by
    personal knowledge), with badge #                  fi
                                           0'-1 b f.t; ~)- . Affiant simply attested to the affidavit and
    complaint, which the AUSA transmitted by remote electronic means (e-mail). The Court issued
    the original warrant and transmitted same to the Applicant, via the AUSA, by remote electronic
    means (e-mail). The process complied with Rule 4.1.
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      ~t.S DISr.<>.

                '-"Cr"o   S~ned By:
~                     '! Edward B. Atkins f r.;r-·
                            1
~----=n8'----tffi11fQA-~~~JMte                         Judge
    United States Magistrate Judge


    Date and Time:              I J / / <j / ZO I tY
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